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                                        IN THE UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                                  RICHMOND DIVISION


                                E-NOTICING REGISTRATION REQUEST FOR PRO SE LITIGANT




                 Case Number_3:20-cv-00393-HEH
                              _ _ _ _ _ __



                 Name: Adesijuola Ogunjobi



                 Address: 8310 Midlothian TPKE


                          Richmond, VA 23235



                 Telephone Number/Cell: (904) 229-4649



                 Email Address: adesijuolaogunjobi @1 gmail.com


                 The undersigned:

                    •   Consents to receiving Notice of filings pursuant to Fed. R. Civ. P.
                        5(b) via Court's electronic filing system.
                    •   Waives service and notice by first class mail of all electronically filed
                        Documents to include orders and judgments.
                    •   Is responsible for immediately notifying the court in writing of any
                        Change of email address.
                    •   Must be r · tered with PACER (www.paccr.gov).
   Case 3:20-cv-00393-HEH Document 2 Filed 06/01/20 Page 2 of 2 PageID# 57




Court Use Only


The request is GRANTED _ _ __   or DENIED _ _ __



(Judge's Signature)                      (Date)
